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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

v.
Joshua Taylor,

Defendant

 

CRIMINAL NO. 4:23-CR-159-04

(BRANN, C.J.)
(MEHALCHICK, M.J.)

NOW, this 14th day of June 2023, the within named Defendant Joshua Taylor

having been arraigned in open Court, hereby pleads NOT GUILTY to within Indictment.

—S_

EFENDANT

 
